                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN
_____________________________________________________________________
THE DRAGONWOOD CONSERVANCY, INC.,
PLEGUAR CORPORATION,
TERRY CULLEN
                  Plaintiffs,
vs.                                       Case No: 16:cv:0534

PAUL FELICIAN
PHIL SIMMERT II
                  Defendants
__________________________________________________________________________

                                   PLAINTIFFS’ BRIEF
                                     IN SUPPORT OF
                   “R702 Motion To Exclude Sean Perry As Expert Witness”.


      NOW COME PLAINTIFFS by their undersigned counsel, and respectfully submit their
BRIEF IN SUPPORT OF PLAINTIFFS’ “R702 Motion To Exclude Sean Perry As Expert
Witness”.

I.     INTRODUCTION.

        The Defendants have identified Mr. Sean Perry as their expert, and offer four separate
written reports, identified as follows

       1.      International And Domestic Market Assessment

       2.      Collection Evaluation Assessment

       3.      Response to Kalmanson Report

       4.      Veterinary Animal Welfare Assessment


       Plaintiffs now file this Brief In Support of their “R702 Motion To Exclude Sean Perry As

Expert Witness”.




                                         1
         Case 2:16-cv-00534-NJ Filed 10/26/20 Page 1 of 16 Document 142
II.     FRCP702 & Kumho Tire.

        In this case -and contrary to the Defendants’ position apparently1- the parties’ expert

witnesses (as to the animals and values) do not present as scientific witnesses under the auspices

of Daubert; and instead present as “experience” experts measured by Kumho Tire, 526 U.W. at

141. 119 S. Ct. 1167

        The initial task falls on the party opposing expert testimony to sufficiently call into

question the reliability of some aspect of the anticipated testimony; the proponent of the expert

testimony then has the burden of showing that the testimony is reliable. Bourjaily v. United

States, 483 U.S. 171, 175-176, 107 S. Ct. 2775 (1987). Then, the court determines whether the

evidence and opinions related thereto are more probative than prejudicial under FRE403.

        Experience alone may qualify a witness as an expert - “In certain fields, experience is the

predominant, if not the sole basis for a great deal of reliable expert testimony.” Advisory

Committee Notes to Rule 702. Indeed the Seventh Circuit has stated repeatedly that “ genuine

expertise may be based on experience or training.” United States v. Conn, 297 F.3d 548, 556 (7th

Cir. 2002) (quoting Tyus v. Urban Search Mgmt., 102 F.3d 256, 263 (7th Cir. 1996).


        “[W]hile extensive academic and practical expertise in an area is certainly sufficient to
        qualify a potential witness as an expert, Rule 702 specifically contemplates the admission
        of testimony by experts whose knowledge is based on experience.” Trustees of Chicago
        Painters and Decorators Pension, Health and Welfare, and Deferred Sav. Plan Trust
        Funds v. Royal Intern. Drywall and Decorating Inc. 493 F.3d 782, 787-788 (7th Circuit
        2010) (emphasis in original) (quoting Fed. R. Evid. 702).

        As such, courts “consider a proposed expert’s full range of practical experience as well as

academic or technical training when determining whether that expert is qualified to render an



1
   The City asks the Court to measure Plaintiffs’ expert -Mitchel Kalmanson- as a scientific expert under Daubert
standards [EDoc 96 pp5-6]; whereas undersigned counsel proffers that both experts – Perry and Kalmanson- are
measured under the “experience” expert under Kumho Tire, supra.


                                           2
           Case 2:16-cv-00534-NJ Filed 10/26/20 Page 2 of 16 Document 142
opinion in a given area.” Trustees of Chicago, 493 F.3d at 788 (quoting Smith v. Ford Motor

Co. 215 F.3d 713, 718 (7th Cir. 2000)).

       In its gatekeeper role, the district court must “assess the reliability of the methodology the

expert has employed in arriving at his opinion” Fuesting v Zimmer, Inc., 421 F.3d 528, 535 (7th

Cir., 2005, emphasis original). The Supreme Court, however, has clearly stated that “the test of

reliability is flexible, and Daubert’s list of specific factors neither necessarily nor exclusively

applies to all experts or in every case.” Kumho Tire, 526 U.S. at 141. 119 S. Ct. 1167 (internal

quotation omitted). This is especially true when the expert’s opinions are non-scientific in

nature and do not follow traditional scientific testing. “[T]he test for reliability for nonscientific

experts is ‘flexible’ and…Daubert’s list of specific factors neither necessarily nor exclusively

apples to all experts or in every case.” “[T]he law grants a district court the same broad latitude

when it decides how to determine reliability as it enjoys in respect to its ultimate reliability

determination.” Kumho Tire, 526 U.S. 142 (emphasis in original).

       Expert testimony must be based upon “sufficient facts or data.” FRE 702(2). In

analyzing the factual foundation, an expert must utilize “reliable principles and methods.”

Kumho Tire Co. v Carmichael 526 UW 137, 152 (1999). Where value is “not readily

ascertainable” (i.e., “there is no better method of arriving at a reasonably accurate figure”) the

use of expert opinion testimony to establish valuation may be particularly appropriate: it “is

simply a matter of what is the best evidence in a particular case”. Kohler Co. v. United States,

247 F. Supp 2d 1083, 7th Circuit 2003)(Citations omitted)




                                         3
         Case 2:16-cv-00534-NJ Filed 10/26/20 Page 3 of 16 Document 142
III.    PRIOR EDUCATION, TRAINING & EXPERIENCE


        Mr. Perry graduated college with a bachelor’s degree some eleven years ago (2009);

he went to Western University and obtained his Doctorate of Veterinary Medicine in 2013; he

then pursued a Doctorate in Veterinary Clinical Sciences, at Louisiana State University at Baton

Rouge; he recently a PhD this past May (2020), in “reptile reproduction” [See, Perry’s

Curriculum Vitae, Murphy Dec. Exhibit E; also see Transcript of Perry’s Deposition Testimony,

excerpted pages attached to Murphy Declaration as Exhibit I thereto; (hereinafter “Perry”) at

p18].

        At deposition, Perry acknowledged he is not a veterinarian with a “reptile specialty” [Id.,

p142], as he is “sitting for boards in the next year” [Id. p141]. However he “has taken several

herpetology classes” and “advised by multiple herpetologists” [Id. p18]

        Perry admits to “zero” education, training and experience with Chinese alligators ( Id.

pp23-24); and as for having “physically been in the presence of a Chinese alligator” it would

have been when he “was in the same room as Terry Cullen at a reptile show.” (Id. p24).

        Likewise, Perry has never been in the physical presence of Dwarf Caimans, Schneider’s

Dwarf Caiman, Black Caimans, Spectacled Caiman, Caiman Yacare, Dwarf Crocodile, African

slender snouted crocodile, phillipine crocodile, nile (dhomi) crocodile, siamese crocodile, new

guinea crocodile, nor west african dwarf crocodile [Id. pp26-29]. Nor Gambian pouch rats [Id.

p130]. Nor mussurana and red mussurana (snakes) [Id. p36].

        Therefore, it comes as no surprise, that Perry is not a member of the AZA Crocodile

Management School nor the IUCN Crocodile Specialist Group (Id. p16).

        Although Perry is affiliated with the Aubdobon Zoo, he has not been “directly involved

in the management and the husbandry” of the crocodilians [Id. p50]. Perry has not personally



                                         4
         Case 2:16-cv-00534-NJ Filed 10/26/20 Page 4 of 16 Document 142
bred crocodilians or anacondas [Id. p51]. He admits he does not know whether the Chinese

Alligator could breed every other year [Id. p179]. He also cannot say “how often” a black

caiman can be bred [Id. p181], nor anacondas [Id. p183].

       Most notably, Mr. Perry has never given deposition testimony before (p17). In fact he

has never given live testimony in a legal proceeding. [Id., p41]. He has never previously

valued a collection of animals [Id. p157]. He is not a licensed Vet in the State of Wisconsin

[Murphy Dec., Exhibit E; Perry at p39].

       When asked how he [as a veterinarian from Lousiana who has never testified in any court

proceedings] became to be Defendants’ expert in this case, he indicated that “PETA” referred

him to the City’s attorneys. [Id., p48].


IV.    PERRYS’ (FOUR) REPORTS

       Mr. Perry is the only expert identified by Defendants; and he has authored four written

reports, which are now the subject of Plaintiffs’ Motion, to wit:

       •    “International And Domestic Market Assessment” [Murphy Declaration, at par. 2,
            referencing Exhibit A thereto]

       •    “Response to Kalmanson Report” [Murphy Declaration at par. 3 referencing
            Exhibit B thereto]

       •    “Collection Evaluation Assessment” [Murphy Declaration at par. 4, referencing
            Exhibit C thereto]

       •    “Veterinary Animal Welfare Assessment” [Murphy Declaration at par. 5,
            referencing Exhibit D thereto]

       The four reports proffer opinions on three primary subject matters: valuations (in two of

the reports); market assessments (one report); and ‘welfare’ assessments (one report).

       Accordingly, for the sake of efficiency, Plaintiffs’ discussion below is primarily devoted

to the three subject matters of the proffered opinions.


                                           5
           Case 2:16-cv-00534-NJ Filed 10/26/20 Page 5 of 16 Document 142
IV.      PERRYS’ REPORTS & SUBJECT MATTERS

         A.     Perry’s Valuations.

         Perry offers many opinions as to value, throughout his reports. He believes he is

qualified to give expert opinions as to the “values” of Plaintiffs’ animals, because as a hobbyist

[Id. p44] he has “sold animals in the reptile world” and routinely observes “the market and

understand the economic forces behind it and the flow of money behind it”. [Id. p151]. He also

“observed internet websites and attended reptile shows since he was young” [Id. p153]. He

admits however, that he has never sold any crocodilians [Id. p151], nor boas or anacondas [Id.

p152].

         To properly value any animal, Perry requires evidence of “research that was ongoing with

any of these specific animals”; and in order to qualify as “research”, Perry would require “an

Institutional Animal Care and Use Protocol from a Zoological Institution/University or any

reputable source” [Exhibit B p2; Perry at p148-9].     Next, Perry would require “evidence that

there was a relationship with a veterinarian and that these animals health was evaluated”. [Id. p7]

         Further, Perry believes there is no “fair market value” for a creature that has not been

born. [Id. p150-151]. Perry assigns values based upon “food”, “leather and fashion”, “breeding

operations”, and the “pet industry and zoos” [See, International and Domestic Market

Assessment”, Exhibit A to Murphy Declaration, at p2]. However, Perry’s deposition testimony

reflects that he requires a cash monetization:

         “When we talk about predicting future value of in an animal, one of the very important
         things that you need to understand is how you’re getting money from the animal” [Id.
         p168]

Finally, and perhaps most importantly, Perry is unable quantify an animal’s “conservation value”

- except that it would “exceed food and skin trade value” [p62].




                                          6
          Case 2:16-cv-00534-NJ Filed 10/26/20 Page 6 of 16 Document 142
         Perry valued 162 of Plaintiffs’ animals. [Exhibit C to Murphy Declaration, at p2]. As

for the common reptiles “often traded in the open market”, Perry’s valuations were based upon

two “online marketplaces” - www.faunaclassifieds.com and www.kingsnake.com [Id. p4].

         But for the rarest of species (like the Chinese Alligator and other “species where trade in

the legal open market does not regularly occur” and values are not published) Perry made one

phone call to the owner of “Crocodile Encounters” in Houston TX , a Mr. Chris Dieter. [Exhibit

C p4, Perry at pp164-165]. The call was made the “day before” his report was due and lasted

about “twenty minutes”. [Id. pp164-165]. Perry used Dieter’s numbers to value seven of

Plaintiffs’ Chinese [Id. p158-160] 2, along with the other, rarest of species “highlighted” in

yellow on the last page of his “Collection Evaluation Assessment” [Perry pp164-165; Exhibit 4

to Murphy Declaration at last page].


         B.        Perry’s Thoughts On Kalmanson.


         It worth noting, that Perry has rejected all of Mitchel Kalmanson opinions, based upon an

apparent misstatement, to wit: Kalmanson “stated in his deposition that turtles are amphibians”

[pp180-181]. Kalmanson however, corrected the misstatement by errata, he meant to say that

turtles are “amphibious” and not “amphibians”. [Murphy Declaration at par 7, referencing

Exhibit F thereto]. Therefore, Perry now “questions everything” Kalmanson has to say about

reptiles and his assessments [Perry at p183].




2
    Where Plaintiffs had 13 (live) Chinese Alligators in the animal collection. [Murphy Dec., at par.11]



                                           7
           Case 2:16-cv-00534-NJ Filed 10/26/20 Page 7 of 16 Document 142
        C.       “International And Domestic Market Assessment”

        Perry authored a purported “International and Domestic Market Assessment (“IDMA”)

for this lawsuit, even though he was not asked to do so. [Id. p43]

        Perry claims expertise in the international and domestic marketplaces, for reptilian and

other exotics, based upon: “Intrinsic knowledge of the reptile industry and the mechanisms

behind it, how it’s been structured and changed”, and “being a part of the reptile industry since

2006, first as a hobbyist, which has turned into breeding”. [Id. p44]

        Perry acknowledges however, that his IDMA is based upon the 2011 “Collis Study” 3

[Id. p15]. However, he is unfamiliar with the data underlying the study and admits the study is

limited – as tracking only “certain importers” and not “all international transactions” [Id. pp54-

55].

        D.       “Veterinary Animal Welfare Assessment”

        As for his “Veterinary Animal Welfare Assessment” (“VAWA”), Perry assess the

“conditions, health, and welfare of the animals” based upon review of photos provided by the

City of Milwaukee [Exhibit D p.2] 4. Beyond those photos however, Perry was not provided

with any other information regarding Plaintiffs’ animals – and was not made privy to opinions of

others that viewed the animals at MADACC facilities [Perry at p92]. (Meaning he was not

made privy to animal reports after the seizures concerning the good condition of the animals –

including that of William Ziegler 5]. Perry never reviewed the photographs in the Kalmanson


3
   “Collis, A.H., Fenilli, R.N. The Modern U.S Reptile Industry, Georgetown Economic Services LLC, Economic
Analysis Group”. [IDMA / Exhibit A at p9]
4
   Acknowledges that “welfare” is not same as “condition” necessarily: “welfare can contribute to their condition”
[Id. p81]

5
   Ziegler reports that, shortly after the animals were seized, he went to MADACC and went through as many
animal boxes “as he could” and observed that virtually all animals were in good shape, no obvious disease, health
issues, none were emaciated; he concludes that -even if some animals had been found in less-than-ideal-husbandry-


                                           8
           Case 2:16-cv-00534-NJ Filed 10/26/20 Page 8 of 16 Document 142
report. [Id. p7] Perry was not aware of Plaintiffs’ rescue and rehabilitation operations; including

the status as “holding station” for US Fish & Wildlife Service, amongst others [Id. pp109-110]

          Finally, when it comes to reptiles, Perry acknowledged they can “survive for extended

periods of time without the presence of water”, because:

          “there’s actually different changes in their renal system that actually adapt that are
          evolutionary driven for that…reptiles are better at adapting to environments with less
          water, period, and that’s a fact”. [Id. pp115-116]


          Even though reptiles have extraordinary ability to adapt, Perry gave no consideration to

this “innate plasticity” in his welfare assessment . [Id., p112-113].



VI.       PERRY GENERAL OPINIONS - HEALTH & HUSBANDRY

          A.    According to Perry, The Only Way An Animal May Be Declared “Healthy” Is By
          A Veterinarian, After A Full Physical Examination And Confirming Diagnostics.

          In Perry’s opinion, the assessment of an animal’s health requires a physical exam by a

veterinarian, plus additional diagnostics to confirm any physical exam findings [Perry at p82 &

92 ]. 6

          Moreover -regarding reptiles- Perry opines that the health assessment must be done by a

veterinarian with a “reptile specialty” [Id. pP140-141; 190-191]. Ironically Perry admits he is

not credentialed with a “reptile specialty” [Id. p142]. But as a veterinarian, Perry boasts:




conditions at seizure - the conditions must have been short term, as they did not affected present (good) health.
[Exhibit H to Murphy Declaration]

6
   Specifically, Perry testified: “To fully assess an individual reptile’s health, irrespective of taxon, a minimum
database should be evaluated. This includes a through history which includes a critical husbandry assessment, hands
on physical examination, full body radiographs, and blood work consisting of both a complete blood count and
biochemical parameters. This minimum database allows for a full assessment of most body systems”. [VAWA /
Exhibit D p.2]



                                           9
           Case 2:16-cv-00534-NJ Filed 10/26/20 Page 9 of 16 Document 142
         “I’m pretty good at mortality because I can euthanize a lot of things because,
         unfortunately, that’s what I do in my job” [Id. p158]


         B.       Other Noteworthy Opinions On “Husbandry”

         When discussing the topic of “animal welfare”, Perry acknowledges “it’s a personal

opinion a lot of times” [Id. p108]; and that “not all zoos are perfect, not all zoos keep animals in

perfect husbandry positions at all times” [Id. p106].

         A healthy animal that is otherwise in a present, poor welfare state, tells him “that the

animal has not been there for an extended duration of time” [Id. p83].




VII. Perry’s Opinions On The “Welfare” Are Based Upon “Ideal States” Of Keeping
Livestock in the UK.

         Perry’s “Veterinary And Animal Welfare Assessment” relies upon a novel formula he

created, which combines his (subjective) scoring on (objective) metrics known as the “Five

Freedoms” and “Opportunities to Thrive” [Perry at p75].

         First, as to the “Five Freedoms”, Perry acknowledges the these “Five Freedoms” by their

terms, merely “define ideal states” for managing livestock and are not “standards for acceptable

welfare”. [Murphy Dec. Exhibit D, p2]. The Five Freedoms purport to “form a logical and

comprehensive framework” to “safeguard and improve welfare within the proper constraints of

an effective livestock industry” [Exhibit D p 2; Perry at p74].


         “Farm animals should have freedom to stand up, lie down, turn around, groom
         themselves, and stretch their limbs” [Id. p144]7




7
    Perry argues that “Any animal that you could possess could be considered livestock” [Perry at p73]



                                           10
           Case 2:16-cv-00534-NJ Filed 10/26/20 Page 10 of 16 Document 142
        Although Perry applies these “five freedoms” to the Dragonwood collection as a

“veterinarian and protector of animal health”, he was unable to point to any legal authority for

applying the ideal states, to Plaintiffs’ animal collection. [Id. pp75-76].

        Second, as to the “Opportunities To Thrive”, those are also a “set of desired outposts”

[Id. p105] developed by the San Diego Global Zoo for its aviary program [Murphy Dec Exhibit

D p2-3]; and in Perry’s opinion, were “Developed to replace the seminal Five Freedoms

established by the UK’s Farm Animal Welfare Council” [Exhibit D p2].

        Perry’s testimony however, was equivocal as to whether the veterinary industry has

actually adopted these metrics, or whether it should:

         “I would say the veterinary industry should consider applying these metrics, both the
        Five Freedoms and the Opportunities to· assess animal welfare across species” [Perry at
        p81, italic supplied];

         “I think that’s been something that’s been adopted by the veterinary community with
        regards to animal welfare” [Id. p75, italic supplied]

        Perry explains that the difference between the Five Freedoms and the Opportunity to

Thrive is perceptual: “some people’s opinions are that the Five Freedoms are too negative and

have more negative connotations, like you’re in distress, pain, injuries, diseases, where the

Opportunity to Thrive have a more positive connotation and positive language to them” [Id.

p84]

        Perry acknowledges that “there is no standard necessarily for some of this”; therefore he

created his own formula to assess animal ‘welfare’ in this case – which is the first time ever used

[Id. p94].

        Specifically, Perry’s first scores animals according to each scale: “you do the first scale,

then you do the second scale, and then you total” [Id. 98]; and then average [Id. p94] and divide

to determine a median [Id. p88]. Perry does this to ‘decrease bias in the assessment” [Id. pp93-4]



                                         11
         Case 2:16-cv-00534-NJ Filed 10/26/20 Page 11 of 16 Document 142
because of the admitted “abnormally distributed…skewdness of the data” [Id. p87]; the final

result is “based off the cumulative score” and a “basic assessment of normal distribution for

statistics” [Id. 84]. [Also, see Exhibit D at p3]

         Perry’s conclusion is that the median rank score for the Plaintiffs’ animals, is the

equivalent of “poor animal welfare” [mostly due to enclosure size and water issues. [Exhibit D

p3; Perry at p.17]. 8



VIII.    ARGUMENT

THIS COURT SHOULD GRANT PLAINTIFFS’ r702 MOTION AND EXCLUDE PERRY’S
PROFERRED TESTIMONY.


         A.     Perry Has Not Certified Any Opinion (To A Reasonable Degree Of Certainty
         In His Field of Expertise)

         Notably, Perry has not certified in any report, nor at deposition, that his opinions rise to a

reasonable degree of certainty (within his field of expertise). This Court should grant Plaintiffs

Motion on this ground alone, and exclude Perry from testifying at trial herein.


         B.    Perry Lacks The Education, Training, And Experience To Qualify As An
         Expert In This Case

         Perry’s bachelor’s degree was dry for about one year, at the time the Search Warrants

were executed herein. Fast-forward a decade later: he is now a Veterinarian, but not credentialed

as a ‘reptile specialist’. Perry’s Curriculum Vitae reflects nominal reference to reptiles

(practical or academic) - and the experience he does have focuses on reproductive systems.



8
    Note: if Perry is allowed to testify Plaintiffs will argue they are being penalized for the conduct of the executing
officers, who disturbed the evidence prior to taking photos (i.e., photos do not accurately reflect how the animals
were originally found). [Murphy @ par 12]



                                          12
          Case 2:16-cv-00534-NJ Filed 10/26/20 Page 12 of 16 Document 142
Moreover, there is no reference to formal experience valuing animals - or assessing marketplaces

(whether domestic or international).

        Likewise Perry is not directly involved in the daily and extended management and

husbandry of reptiles. He has never valued an animal collection before. He is not a member of

the American Zoological Association’s prestigious Crocodile Management School (nor the

IUCN’s Crocodile Specialist Group). He admits to zero practical experience or training with

Chinese alligators and the many other species in Plaintiffs’ animal collection. He does not breed

crocodilians (or anacondas), and lacks knowledge regarding the breeding Chinese Alligators, and

black caimans. In fact he has not even been in the same room with rare and exotic species like

those owned by Plaintiffs. Ironically, the only time he has been in the presence of a live

Chinese Alligator was through Terrry Cullen’s outreach programming.

        Kumho Tire’s “reliability concerns” focus upon (1) Perry’s personal knowledge,

experience, and expertise; (2) the nature of the issue and subject of testimony; (3) whether

Perry’s opinions are based upon sufficient facts or data; and (4) whether he has applied reliable

principles and methods, reliably to the facts of the case. The focus is on principles and

methodology, not upon the correctness of the conclusions. Perry’s opinions are not based upon

scant and unreliable facts and data, and heretofore unknown principles and methodologies. He

presents no “superior knowledge”, “skills”, “experience”, “training” or “education” underlying

any of his opinions - particularly as it relates to the type of rare, exotic reptiles in issue herein.

        In reality, Perry has never testified in any court – let alone as an expert witness. He

presents as a PETA-planted, newly minted Veterinarian, seeking to become a reptile expert -

whose primary job responsibility is euthanizing animals, as opposed to caring for them.




                                         13
         Case 2:16-cv-00534-NJ Filed 10/26/20 Page 13 of 16 Document 142
His opinions on animal welfare, likewise present extreme, ipse dixit, academia-generated

standards and opinions, based upon “ideal states” for livestock.



       C.   Perry’s Opinions On Marketplaces And Valuations Are Unreliable And
       Would Only Confuse The Jury

       Perry is unfamiliar with the data underlying his Collis-based “International and Domestic

Market Assessment” report. [Perry p.54-55]. As to his valuations Perry believes there is no

“fair market value” for an animal not yet born. [Perry pp150-151]. However for those animals

he did value, Perry’s focus is on the consumer values for skin and meat.     His opinions are based

upon “how you’re getting money from the animal” [Perry, p168]. Plaintiffs however, were not

propagating Chinese Alligators and other endangered species, for handbags and tacos. Plaintiffs

animals are conservation animals, not readily monetized. Perry admits he does not “know”

conservation values.    As to his valuation of the rarest-species, Perry’s opinions are traceable to

one short phone call – reflecting that Mr. Dieter should have been proffered as Defendants’

expert. Likewise, -as for crocodilians traded regularly in the market- Perry offers data from

(two) online sites for species trade.

        A hobbyist turned vet, who goes to reptile shows and searches the internet, does not an

expert make. Especially in areas where Perry has no special knowledge.




                                         14
         Case 2:16-cv-00534-NJ Filed 10/26/20 Page 14 of 16 Document 142
          D.     As To Animal Welfare, He Is Offering A Personal Opinion Based Upon A
          “Formulae” He Invented And Never Before Used, Which Is Based Upon “Ideal
          States” For Livestock in The United Kingdom (And Not Designed As “Standards”
          For Animal Welfare)

          Perry is not a Vet with a ‘reptile specialty’ and he did not personally examine the animals

run diagnostics. Under Perry’s own definitions and standards, he is incompetent to render expert

opinions as to the health and welfare of the animals herein.

          Worse, Perry admits that the issue of “animal welfare” is usually a “personal opinion”

[Perry p108]. His opinions are based upon questionable police photos, a formula he invented

(never before used), and “ideal states” rather than standards for acceptable welfare” - for

livestock in Europe. There is no legal authority for applying these “ideal states” for livestock, to

Plaintiffs’ animal collection. Perry does it ipse dixit. He is equivocal as to whether the

veterinary industry has actually adopted these ideal states, as “standards” for animal welfare

(versus whether he thinks they should be adopted).



          E.    The Likelihood That Perry’s Opinions Will Confuse Issues and Mislead The
          Jury Substantially Outweigh Its Probative Value, If Any

          Perry’s opinions on “welfare” at the time of the seizure bring nothing new to the table.

The would be cumulative, confusing, misleading, and unduly prejudicial.

          Specifically, by Plaintiffs’ count, roughly 175 animals were seized for the sole purpose of

“safekeeping” 9 [Murphy Declaration at par. 11].

          Perry identifies some 110 as being in poor welfare states, whereas the Defendants seized

upwards of 50 animals allegedly (as probable cause) for mistreatment. Perry’s testimony is

therefore cumulative, and creates a dichotomy of numbers and opinions which creates an



9
    Excluding feeder mice and rats. [Murphy Declaration par.11].


                                           15
           Case 2:16-cv-00534-NJ Filed 10/26/20 Page 15 of 16 Document 142
unreasonable danger of jury confusion - including the bootstrapping of Perry’s numbers and

opinions from 2020, onto the police numbers and opinions from 2010 – which then necessarily

impacts the number of animals actually seized in 2010 for no reason other than ‘safekeeping’.

        The material issue is that the Plaintiffs did not get the animals back. Any poor welfare,

(measured by viewing police photos) is not relevant to the jury’s decisionmaking.



IX. Conclusion.

        Although well educated and scholarly, Mr. Perry does not qualify as an expert in this

litigation, in any of the substantive areas he proffers.

        Perry is a reptile hobbyist, turned recent veterinarian, and working towards his ‘reptile

specialty’, with zero experience in valuing animals or assessing marketplaces (whether

international or domestic). In regards to values, his opinions are based upon scant data obtained

from two sources, used in a formula he invented for this case.

        Overall, and in the many instances noted above, there is far too great an analytical gap

between the scant data and the many opinions offered - connected only by the ipse dixit of the

expert and “his own say so”.     His opinions will not assist the trier of fact and threaten to

improperly extend this trial with cumulative, immaterial, and unduly prejudicial information.


Dated: October 26, 2020
/s/ electronically signed by

Attorney Mark P. Murphy
Attorneys for Plaintiffs
SBN 1017745
657 S. 72nd Street
Milwaukee, WI 53214
414-453-5555




                                         16
         Case 2:16-cv-00534-NJ Filed 10/26/20 Page 16 of 16 Document 142
